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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
DON THOMASON, Case No. 1:17-cv-526
Plaintiff,
VS. Judge Timothy S. Black

CINCINNATI CHRISTIAN UNIVERSITY,
Defendant.

CONDITIONAL ORDER OF DISMISSAL
The Court having been advised by the parties that this civil action has been settled;
It is ORDERED that this action is hereby DISMISSED with prejudice, provided
that any of the parties may, upon good cause shown within 45 days, move to reopen the
action if settlement is not consummated. Also, if desired, the parties may timely move to
substitute a judgment entry contemplated by the settlement agreement.
The Court expressly and explicitly retains jurisdiction to enforce the settlement

agreement of the parties.

IT IS SO ORDERED.

Date: bl i\es Tema 42- Chek

Timothy S. Blac
United States District Judge

 
